Case 3:21-cv-04869-JD Document 1-2 Filed 06/24/21 Page 1 of 4




          EXHIBIT B
               Case 3:21-cv-04869-JD Document 1-2 Filed 06/24/21 Page 2 of 4




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15   Facsimile:     (415) 357-4605

16   Attorneys for Johnson & Johnson Consumer Inc.

17
                                 SUPERIOR COURT OF CALIFORNIA
18
                                        COUNTY OF ALAMEDA
19

20
     KATHERINE BRENNAN and MICHELLE MANG,                       CASE NO.
21   individually and on behalf of all others similarly
     situated,                                                  NOTICE TO ADVERSE PARTY
22                                 Plaintiffs,                  OF REMOVAL OF CIVIL
                                                                ACTION TO FEDERAL COURT
23          vs.
                                                                Removed from the Superior Court of
24   NEUTROGENA CORPORATION and JOHNSON                         California, Alameda County, Case No.
25   & JOHNSON CONSUMER COMPANIES, INC.;                        RG21101025
                         Defendants.
26                                                              State Court action filed: May 26, 2021

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               Case 3:21-cv-04869-JD Document 1-2 Filed 06/24/21 Page 3 of 4




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 2          TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE THAT a Notice of Removal of Civil Action was filed in the

 4   United States District Court for the Northern District of California on June 24, 2021.

 5          A copy of the Notice of Removal and Declarations of Jennifer Sheehy and Matthew

 6   Plugues in support thereof is attached to this Notice and is served and filed herewith.

 7

 8          DATED: June 24, 2021           PATTERSON BELKNAP WEBB & TYLER LLP

 9                                         LAFAYETTE & KUMAGAI LLP
10                                         By:
11                                         GARY T. LAFAYETTE
12                                         Attorneys for Johnson & Johnson Consumer Inc.
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                                                                                                            1                                        PROOF OF SERVICE
                                                                                                            2          I am employed in the City and County of Oakland, California. I am over the age of
                                                                                                                eighteen years and not a party to the within action. My business address is 1300 Clay Street,
                                                                                                            3   Suite 810, Oakland, California 94612.
                                                                                                            4          On June 24, 2021, I served the document named below on the parties in this action as
                                                                                                                follows:
                                                                                                            5
                                                                                                                           NOTICE TO ADVERSE PARTY OF REMOVAL OF CIVIL ACTION TO
                                                                                                            6              FEDERAL COURT
                                                                                                            7    XX     (BY MAIL): I caused each and such envelope with postage thereon fully prepaid, to be
                                                                                                                        placed in the United State mail at Oakland, California. I am readily familiar with the
                                                                                                            8           practice for the collection and processing of correspondence for mailing, said practice
                                                                                                                        being that in the ordinary course of business, mail is deposited in the United States
                                                                                                            9           Postal Service the same day as it is placed for collection.
                                                                                                           10           (BY FILE & SERVEXPRESS): I served the document(s) named above on the
                                                                                                                        party(ies) in this action, by uploading true and correct copy(ies) of the document(s) to
                                                                                                           11           File & ServeXpress to be filed and served electronically to the Court and counsel of
                                                                                                                        record through their File & ServeXpress inboxes.
LAFAYETTE & KUMAGAI LLP




                                                                                                           12           (BY PERSONAL SERVICE): I caused to be personally served each document listed
                                               810




                                                                                                                        above on the addressee(s) noted below.
                                             94612




                                                                                                           13
                                                                                          (415) 357-4605




                                                                                                                        (BY FACSIMILE): I caused to be sent via facsimile at the facsimile number listed
                                             CLAY STREET, SUITE
                          ATTORNEYS AT LAW



                                                                                        (415) 357-4600




                                                                                                                        below, a copy of each document to the addressee(s) noted below.
                                                                  OAKLAND, CALIFORNIA




                                                                                                           14
                                                                                                                        (BY OVERNIGHT MAIL): I caused to be delivered to an overnight courier service
                                                                                                           15           each document to the addressee(s) noted below.
                                                                                                                        (BY ELECTRONIC MAIL): I caused a copy of the document(s) to be sent from e-mail
                                                                                                           16           address kmikkelsen@lkclaw.com to the persons at the email addresses listed below.
                                                                                                 FAX
                                             1300




                                                                                                           17           ALYSTOCK, WITKIN, KREIS &                 BRADLEY/GROMBACHER, LLP
                                                                                                                        OVERHOLTZ, PLLC                           Marcus J. Bradley, Esq.
                                                                                                           18           Sin-Ting Mary Liu                         Kiley L. Grombacher, Esq.
                                                                                                                        17 East Main Street, Suite 200            Robert N. Fisher, Esq.
                                                                                                           19           Pensacola, FL 32502                       31365 Oak Crest Drive, Suite 240
                                                                                                                                                                  Westlake Village, CA 91361
                                                                                                           20

                                                                                                           21
                                                                                                                       I declare under penalty of perjury under the laws of the State of California that the
                                                                                                           22   foregoing is true and correct. Executed on June 24, 2021at Oakland, California, California.
                                                                                                           23

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                                                                                                                                                             Kirsten Mikkelsen
                                                                                                           25

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                                                                                                                                                                 1
                                                                                                                                                        PROOF OF SERVICE
                                                                                                                                                       (Case No. RG21101025)
